Case 2:05-CV-02041-SHI\/|-tmp Document 81 Filed 08/03/05 Page 1 of 3 Page|D 50

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FOR THE wESTERN DISTRICT 0F TENNESSEE 05 AUG -3 3. 00
JAMES C. BARBER, sr. ) CLEHK U,,§!_SD§'TRQHRO%W
) W-"U 9;" fi#i!;¢PH;S
Plaintiff, ) Case No. 2:05-cv-02041-SHM-tmp
)
v. ) Hon. Samuel M. Mays, Jr.
) U.S. District Judge
RA])IANS, INC. and ) Hon. Tu M. Pham
MIKE TUTOR, )
) JURY DEMAND
Defendants. )

ORDER GRANTING DEFENDANT RADIANS’
MOTION FOR LEAVE TO FILE REPLY
It appearing to the Court, Defendant, Radians, Inc.’s Motion for Leave to File Reply to
Plaintiff’ s Opposition to Defendant Radians’ Motion to Compel is well taken and is GRANTED.
The Clerk is instructed to file Defendant Radians’ Reply to Plaintiff`s Opposition to

Radians’ Motion to Compel, Which is annexed to Defendant’s Motion, in the record of this

'<:/`P@M_

JUDGE

Date: PTUW 3/. ?\\G'

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Ti'.is document entered on the dock sheet in compliance
wiih Rule be and/or ra(a) FRGP on §§ J't_ £*Q §_ _

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August 4, 2005 to the parties listed.

Notice of Distribution

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Honorable Samuel Mays
US DISTRICT COURT

